
USCA1 Opinion

	










          March 27, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

                                 ____________________


        No. 95-2094


                                  BERNARDO FIGUEROA,

                                Plaintiff, Appellant,

                                          v.

                             GEORGE A. VOSE, JR., ET AL.,

                                Defendants, Appellees.


                                 ____________________

                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Torruella, Chief Judge,
                                           ___________
                           Stahl and Lynch, Circuit Judges.
                                            ______________

                                 ____________________

            Bernardo Figueroa on brief pro se.
            _________________
            Michael B.  Grant, Senior Legal  Counsel, Rhode Island  Department
            _________________
        of  Corrections,  on Memorandum  in  Support  of  Motion  for  Summary
        Disposition, for appellees.


                                 ____________________


                                 ____________________



                      Per Curiam.  Bernardo Figueroa, who is incarcerated
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            in  the Maximum  Security  prison at  the Adult  Correctional

            Institution  in  Rhode  Island,  appeals  from  the  district

            court's dismissal of his  suit against state prison officials

            under 42 U.S.C.    1983.   We affirm,  substantially for  the

            reasons given in the magistrate judge's report dated July 11,

            1995, which the district  court adopted as its decision.   We

            add only the following comments.

                      1.  Figueroa suggests that Sandin v. Conner, 115 S.
                                                 ______    ______

            Ct. 2293 (1995), would not bar his due process claims because

            the  disciplinary decision  against  him could  affect future

            classification  or parole  decisions.   The  chairman of  the

            state parole board testified  below that inmate misconduct is

            only  one of  the factors considered  in granting  or denying

            parole and  that an  inmate may explain  adverse disciplinary

            decisions  to  the  parole  board.   Thus,  the  disciplinary

            decision  against Figueroa will  not "inevitably"  affect the

            length of his sentence  and its existence does not  give rise

            to a protected liberty interest.  See id. at 2302 (dictum).  
                                              ___ ___

                      2.  Although the complaint asserted that defendants

            had  harassed Figueroa because of his race or for retaliatory

            reasons, Figueroa failed  to raise that claim  at the hearing

            before the magistrate.   Nor did he raise it  with sufficient

            clarity  in his  objections  to the  magistrate's report  and

            recommendation.  We therefore deem that claim abandoned.  See
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            Borden v. Secretary of Health and Human Services, 836 F.2d 4,
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            6 (1st Cir. 1987) (per curiam).

                      3.   The district court  did not err  in failing to

            address Figueroa's  claim that  defendants  had violated  the

            Morris  v.  Travisono consent  decree.    We have  held  that
            ______      _________

            inmates  may not  bring individual  section 1983  actions for

            injunctive or  declaratory relief which are  based on consent

            decree violations.  See Martel v. Fridovich, 14 F.3d 1, 3 n.4
                                ___ ______    _________

            (1st Cir. 1993).

                      4.  The magistrate  judge was authorized to conduct

            all   necessary  hearings   and   to  issue   a  report   and

            recommendation  for review  by the  district court,  which he

            did.   Because he  was not  authorized to and  did not  enter

            judgment in this case, the parties' consent was not required.

            See 28 U.S.C.   636(b)(1)(B) &amp; (c)(1).1
                                                  1
            ___

                                
            ____________________

               1We  note  one  problem with  Magistrate  Judge Boudewyns'
               1
            report and  recommendation to  the district court  which does
            not affect the disposition of this appeal.  At the end of his
            report, the  magistrate judge  stated that the  "[f]ailure to
            file  specific objections  in a  timely manner  constitutes a
            waiver of the right to  review by the district court."   In a
            footnote, he cites Park  Motor Mart, Inc. v. Ford  Motor Co.,
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            616  F.2d 603 (1st Cir. 1980), and United States v. Valencia-
                                               _____________    _________
            Copete, 792 F.2d 4 (1st Cir.  1986) (per curiam).  The quoted
            ______
            language accurately states our holding in Park Motor.  But it
                                                      __________
            does not  encompass our holding in  Valencia-Copete, where we
                                                _______________
            directed all magistrates to include in their reports a notice
            that  failure to timely object  to a report  would waive "the
            right  to appeal the district court's decision."  792 F.2d at
                      ______ ___ ________ _______ ________
            6 (emphasis added).  We  reiterate that all magistrate judges
            in  this Circuit are required to include in their reports the
            statement that failure to file specific objections to reports
            in a  timely manner waives  both the right  to review by  the
            district  court and the right  to appeal the district court's

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                      Affirmed.
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            ____________________

            decision.

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